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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  SECURITIES AND EXCHANGE COMMISSION,

                               Plaintiff,

  v.

  FEDERICO NANNINI,
  MAURO NANNINI,
  ALEJANDRO THERMIOTIS, and
  FRANCISCO TONARELY,

                          Defendants.
  _________________________________________/

                  COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

        Plaintiff Securities and Exchange Commission (the “Commission”) alleges:

                                       I. INTRODUCTION

        1.     This is an action for unlawful insider trading in the securities of Infrastructure and

 Energy Alternatives, Inc. (“IEA”) in advance of the July 25, 2022 public announcement (the

 “Announcement”) of IEA’s acquisition by MasTec, Inc. (“MasTec”), a Florida-based

 infrastructure construction company, against Defendants Federico Nannini (“Nannini”), Mauro

 Nannini, Alejandro Thermiotis (“Thermiotis”), and Francisco Tonarely (“Tonarely”) (collectively,

 the “Defendants”).

        2.     Nannini was an associate at the Miami, Florida office of a national consulting firm

 (the “Consulting Firm”) that was hired by MasTec to conduct buy-side due diligence in connection

 with MasTec’s acquisition of IEA. From at least June 7, 2022 through July 25, 2022 (the “Relevant

 Period”), Nannini abused his position and breached his duty of trust and confidence to the

 Consulting Firm by misappropriating material nonpublic information (“MNPI”) regarding the

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 acquisition of IEA, which he used to tip his father, Mauro Nannini, and close friend, Thermiotis,

 who purchased common stock and/or options to purchase common stock in IEA in advance of the

 Announcement. Thermiotis then tipped his close friend Tonarely, who also purchased IEA

 common stock in advance of the Announcement.

        3.      On the day of the Announcement, the closing price of IEA’s stock jumped by more

 than 31 percent. Mauro Nannini, Thermiotis, and Tonarely each sold their stock and options in

 IEA on the day of the Announcement, realizing approximately $1.1 million in combined total

 illegal profits. Following the tip, Thermiotis agreed to purchase Nannini a Rolex Cosmograph

 Daytona watch for providing him with the MNPI.

        4.      By engaging in the conduct alleged in this Complaint, Defendants violated Section

 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Exchange

 Act Rule l0b-5 [17 C.F.R. § 240.10b-5]. Accordingly, the Commission seeks permanent

 injunctions against Defendants, an order directing Mauro Nannini, Thermiotis, and Tonarely to

 disgorge their illegal profits, with prejudgment interest thereon, and civil monetary penalties

 against all Defendants.

                                         II. DEFENDANTS

        5.      Nannini, age 26, is a resident of Coral Gables, Florida. During the Relevant Period,

 Nannini lived with his parents. Nannini worked as an associate at the Consulting Firm from July

 2021 until January 5, 2023, when he resigned due to his failure to cooperate with the Consulting

 Firm’s internal investigation involving an inquiry into trading ahead of the Announcement.

        6.      Mauro Nannini, age 63, is a resident of Coral Gables, Florida, and is Nannini’s

 father. On his “about.me” website page, Mauro Nannini states that he has more than 30 years of




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 financial sector experience and currently serves as the director of a limited liability company that

 invests in real estate.

         7.      Thermiotis, age 26, is a resident of Miami, Florida. Thermiotis and Nannini

 attended the same high school in Miami, Florida, and maintain a close friendship. Thermiotis was

 formerly associated as a financial analyst with a brokerage firm in the summer of 2019. According

 to his LinkedIn profile, he currently works as a trader merchant.

         8.      Tonarely, age 25, is a resident of Miami, Florida. Tonarely is close friends with

 Thermiotis and attended high school with Nannini and Thermiotis. Tonarely currently works at a

 premium wine and spirits distributor.

                                 III.    RELEVANT ENTITIES

         9.      IEA is an infrastructure construction company incorporated in the state of Delaware

 with its principal place of business in Indianapolis, Indiana. IEA was an SEC-reporting company

 and filed periodic reports with the Commission pursuant to Section 13(a) of the Exchange Act. Its

 common stock was registered under Section 12(b) of the Exchange Act and formally listed on the

 NASDAQ under the ticker “IEA.” On October 7, 2022, IEA was acquired by MasTec. On

 November 1, 2022, IEA filed a termination of securities registration consistent with its acquisition

 by MasTec.

         10.     MasTec is an infrastructure construction company incorporated in the state of

 Florida with its principal place of business in Coral Gables, Florida. MasTec is an SEC-reporting

 company and files periodic reports with the Commission pursuant to Section 13(a) of the Exchange

 Act. Its common stock is registered under Section 12(b) of the Exchange Act and listed on the

 NYSE under the ticker “MTZ.”




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                                IV. JURISDICTION AND VENUE

        11.      This Court has jurisdiction over this action pursuant to Sections 21(d), 21(e), 21A

 and 27 of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e), 78u-1 and 78aa].

        12.      This Court has personal jurisdiction over the Defendants and venue is proper in the

 Southern District of Florida because all the Defendants reside in this District and engaged in acts,

 transactions, practices, and courses of conduct in this District constituting violations of the

 Exchange Act.

        13.      In connection with the conduct alleged in this Complaint, Defendants, directly and

 indirectly, singly or in concert with others, made use of the means or instrumentalities of interstate

 commerce, the means or instruments of transportation or communication in interstate commerce,

 and of the mails.

                                 V.    FACTUAL ALLEGATIONS

        A.       Nannini’s Role with Consulting Firm and Access to MNPI

        14.      Nannini had been employed with the Consulting Firm as an associate since July

 2021 and worked on various deals, including MasTec deals. His responsibilities included data

 room reviews, preliminary modeling work, and quality of earnings analysis, among other tasks.

        15.      Nannini had a relationship of trust and confidence with the Consulting Firm that

 required him to keep MNPI confidential. As a condition of his employment, Nannini was subject

 to the Consulting Firm’s policies and procedures that required him to maintain the confidentiality

 of information related to his work and to refrain from trading securities on the basis of MNPI.

 Among those policies and procedures was the Consulting Firm’s code of conduct and an insider

 trading policy, which prohibited disclosure of MNPI to “any other member of the household of

 [Consulting Firm] personnel.”



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        16.     The Consulting Firm’s insider trading policy prohibited trading as well as tipping

 others “with inside information under circumstances that indicate you were trying to help such

 person make a profit or avoid a loss.” The policy also prohibited employees such as Nannini from

 using MNPI “to trade in the securities of any company, including a [Consulting Firm] client,” and

 explicitly stated, “You may not engage in unlawful tipping.”

        B.      Nannini is Assigned to “Project Indigo”

        17.     MasTec retained the Consulting Firm in June 2022 to conduct due diligence in

 connection with its potential acquisition of IEA. The Consulting Firm was typically brought into

 a deal when there was a signed letter of intent, and an acquisition or merger was very likely

 between two entities.

        18.     On June 6, 2022, Nannini’s supervisor notified Nannini and the rest of the team

 about a new project involving MasTec, code-named Project Indigo. At that time, no one on the

 team was aware of the target company.

        19.     On June 7, 2022, after the Consulting Firm completed its conflicts check, Nannini

 learned that IEA was the target company. In his role as an associate, Nannini had access to an

 online “data room” of MNPI, which he accessed to provide analysis of IEA’s ongoing construction

 projects, as well as IEA’s financials, historical trends, and projected monthly revenue. He also

 attended weekly meetings regarding the status of the acquisition.

        20.     The Consulting Firm’s internal logs show that beginning on June 7, 2022, Nannini

 accessed MNPI relating to the potential acquisition multiple times during the duration of the

 project. Nannini had access to this information through his laptop, both at work and while working

 from home.




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        21.     Nannini’s supervisor regularly conducted meetings with the team to discuss, among

 other things, the sensitive nature of Project Indigo. Nannini’s supervisor stressed multiple times

 during these meetings and in written communications to Nannini and the rest of the team that

 confidentiality of MNPI was paramount, including sending an email on June 8, 2022 to Nannini

 and the team with the subject line “Project Indy – New Deal – EXTREMELY CONFIDENTIAL.”

        22.     Nannini knew, consciously avoided knowing, or was reckless in not knowing that

 information regarding the acquisition was material and nonpublic.

        C.      Unlawful Tipping and Trading in Advance of the Announcement

          (i) Nannini Misappropriates MNPI and Tips Thermiotis Who Trades IEA Stock

         23.    Nannini and Thermiotis are very close friends. They attended the same high school

 and were in the same class. During the Relevant Period, Nannini and Thermiotis communicated

 almost every day regarding day-trading, family events, job-related issues, and social engagements.

         24.    Eight days after he learned IEA was the target company, Nannini breached his duty

 of trust and confidence to the Consulting Firm by tipping Thermiotis about MasTec’s potential

 acquisition of IEA.

         25.    Nannini knew, consciously avoided knowing, or was reckless in not knowing that

 by tipping Thermiotis, he would trade in IEA securities.

         26.    Nannini tipped Thermiotis with the intent that he would trade on the basis of MNPI

 in advance of the Announcement.




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          27.    Specifically, on June 15, 2022, beginning at 9:23 a.m., Thermiotis and Nannini held

 two back-to-back phone calls lasting approximately 16 minutes in total. Shortly thereafter, at 9:47

 a.m., Thermiotis texted Nannini asking “Whats [sic] ticker[?] Don’t even tell me just call me later.”

 Later that afternoon, Thermiotis purchased 180,356 shares of IEA for approximately $1.6 million,

 accounting for approximately 31.8 percent of IEA’s entire trading volume that day.

          28.    On June 16, 2022, Thermiotis purchased another 19,644 shares for approximately

 $166,286. As of June 30, 2022, IEA comprised 100 percent of Thermiotis’s stock holdings in his

 two brokerage accounts.

         29.     Nannini provided periodic updates to Thermiotis about the status of Project Indigo,

 often through text messaging. In these text messages, Nannini and Thermiotis shared their desire

 to keep communications about the acquisition to a minimum and acknowledged they should not

 be texting about it.

         30.    For example, on June 22, 2022, Nannini received an email from a MasTec

 executive that was forwarded from Nannini’s supervisor, stating that there was no positive or

 negative update regarding Project Indigo (Figure 1 below).

         31.     Within four minutes of receiving the email, Nannini texted Thermiotis: “Just got an

 update we stil [sic] dk [don’t know],” followed by “[n]o positive or negative but we’ll be kept

 updated” (Figure 2 below). The language in the text message Nannini sent to Thermiotis is nearly

 identical to that in the email Nannini received from his supervisor:




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         Figure 1 – June 22, 2022 Email Forwarded to Nannini 1




        Figure 2 – June 22, 2022 Text Messages between Nannini and Thermiotis

                                    June 22, 2022 (Wednesday)
                  10:28 a.m.        Federico Nannini text to Alejandro Thermiotis:

                                     Just got an update we stil dk
                                     No positive or negative but we’ll be kept updated.

                  10:29 a.m.                                       Alejandro Thermiotis:
                                                                   Tomorrow?

                                    Federico Nannini:
                                    Not sure.



 1
  The timestamp on the email Nannini received from his supervisor, dated June 22, 2022 at 2:24
 p.m., is in Coordinated Universal Time (“UTC”). UTC is the primary time standard globally
 used to regulate clocks and time. The time 2:24 p.m. UTC is 10:24 a.m. Eastern Daylight Time.

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           32.   On July 7, 2022, Nannini messaged Thermiotis: “Its [sic] looking like 60/40 no go,”

 to which Thermiotis replied, asking, “60 yes 40 no?” Nannini answered, “Opposite” (Figure 3

 below).

        Figure 3 – July 7, 2022 Text Messages between Nannini and Thermiotis

                                        July 7, 2022 (Thursday)
                     10:28 a.m.        Federico Nannini text to Alejandro Thermiotis:

                                       Yoyo
                                       Its looking like 60/40 no go

                     10:44 a.m.                                       Alejandro Thermiotis:
                                                                      60 yes 40 no?

                                       Federico Nannini:
                     10:47 a.m.        Opposite


           33.   Later that day, Nannini text messaged Thermiotis regarding IEA’s anticipated

 earnings announcement: “Will find out by the 15th but 12 [sic] earnings will be insane” and “Q2

 is gonna be big.”

           34.   On July 14, 2022, Nannini’s supervisor emailed him at 9:12 a.m., asking Nannini

 to “[f]ocus on Indigo so we can push it to close to the finish by end of the day today.” At 11:24

 a.m., Nannini accessed an Excel spreadsheet containing MNPI that provided financial data about

 Project Indigo. While this file did not specify the price-per-share that MasTec would pay to acquire

 IEA, Nannini would have been able to make certain assumptions based on that financial

 information. Two minutes later, at 11:26 a.m., Nannini texted Thermiotis that the deal was going

 through (Figure 4 below).




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          Figure 4 – July 14, 2022 Text Messages between Nannini and Thermiotis

                                          July 14, 2022 (Thursday)
            11:26 - 11:29     Federico Nannini:
            a.m.              Its going thru. Holy shit bro

                                                                     AlejandroThermiotis:
                                                                     Bro call me lter [sic]
                                                                     Don’t text.
                                                                     But lfg [let’s fucking go]

                              Federico Nannini:
                              My dads out down 40 gs.

                                                                     Alejandro Thermiotis:
                                                                     Im down like 100.
                                                                     Call me later tho.
                                                                     Im in miami.



         35.     Nannini received a personal benefit from his tip of MNPI to Thermiotis, including

  the benefit of providing a gift of inside information to a close friend. Nannini also expected a

  monetary benefit from Thermiotis in exchange for the MNPI in the amount of $25,000 or,

  alternately, in the form of a Rolex watch of equal or similar value.

         36.     For instance, on July 15, 2022, the day after Nannini notified Thermiotis that the

  deal was going through, Nannini texted Thermiotis a screenshot from Instagram of a Rolex

  Cosmograph Daytona with a stated value of approximately $30,000 (Figure 5 below).

         37.     Upon receiving the text with the screen shot, Thermiotis responded, “I got you. Lets

  [sic] see 14.75 – 16 first,” referencing what Thermiotis estimated MasTec would offer on a price-

  per-share to acquire IEA.




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         Figure 5 – July 15, 2022 Text Messages between Nannini and Thermiotis

                                             July 15, 2022 (Friday)

                        7:31pm      Federico Nannini:




                                                                      Alejandro Thermiotis:
                                                                      I got you.
                                                                      Lets see 14.75-16 first.



         38.     On July 25, 2022, prior to the open of the market, MasTec and IEA publicly

  announced that they had entered into a definitive agreement pursuant to which MasTec would

  acquire all of the outstanding shares of IEA in a cash-and-stock transaction valued at $14.00 per

  IEA share.

         39.     Thermiotis sold his entire block of IEA shares on the date of the Announcement,

  realizing an illegal profit of $924,183.

         40.     In addition to the above-alleged illicit conduct, Thermiotis communicated material

  non-public information to at least one other family member who traded IEA shares. For example,

  one of Thermiotis’s family members purchased 1,593 shares of IEA on June 16, 2022—the day

  after Nannini first disclosed MNPI to Thermiotis and the same day Tonarely traded IEA as

  discussed below. At Thermiotis’s direction, his family member sold the shares in IEA on July 25,

  2022, illegally profiting by approximately $7,923. Thermiotis received a personal benefit from his

  tip of MNPI to his family member, including the benefit of providing a gift of inside information

  to a family member.

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         41.     At the time Thermiotis traded in the securities of IEA, he knew, consciously

  avoided knowing, or was reckless in not knowing that that he was in possession of MNPI.

         42.     Thermiotis also knew, consciously avoided knowing, or was reckless in not

  knowing that the MNPI was divulged to him by Nannini in breach of a duty of trust and confidence

  for personal benefit.

         43.     Thermiotis used the MNPI with an intent to deceive or defraud by trading in IEA

  securities on the basis of MNPI in advance of the Announcement.

                                    (ii) Nannini Tips Mauro Nannini

          44.    Mauro Nannini is Nannini’s father. During the Relevant Period, Nannini lived with

  his parents at their home in Coral Gables, Florida.

          45.    Mauro Nannini knew that his son worked as an associate for the Consulting Firm

  and, as a result, regularly had access to MNPI.

          46.    Mauro Nannini also was familiar with the Consulting Firm and the types of services

  it provided on behalf of its clients, and even had dinner with Nannini’s supervisor on at least one

  occasion.

          47.    As evidenced by Nannini’s regular text messages with Thermiotis in which they

  discuss Mauro Nannini’s trading activity, as well as the timing of Mauro Nannini’s trades in IEA’s

  securities, Nannini breached his duty of trust and confidence to the Consulting Firm by tipping

  Mauro Nannini regarding MasTec’s potential acquisition of IEA and by keeping him updated

  regarding the likelihood of the deal going through in advance of the Announcement.

          48.    Nannini knew, consciously avoided knowing, or was reckless in not knowing that

  by tipping Mauro Nannini, he would trade in IEA securities.




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          49.    Nannini tipped Mauro Nannini with the intent that he would trade on the basis of

  MNPI in advance of the Announcement.

          50.    Nannini received a personal benefit from his tip of MNPI to Mauro Nannini,

  including the benefit of providing a gift of inside information to a family member.

          51.    Beginning on the evening of June 8, 2022—the day after Nannini learned about

  MasTec’s potential acquisition of IEA—Mauro Nannini placed an order to purchase 3,000 shares

  of IEA (executed the next day) and purchased an additional 9,500 shares of IEA stock the next day

  for a total of approximately $114,071 (Figure 6 below).

          52.    Over the next few weeks, Mauro Nannini purchased an additional 25,000 shares of

  IEA using two brokerage accounts for which he paid approximately $225,170. Between June 24

  and June 27, 2022, Mauro Nannini sold 3,000 shares of IEA for which he received approximately

  $28,513, resulting in him owning a net total of 34,500 shares for approximately $310,729 (Figure

  6 below).

          Figure 6 – Mauro Nannini’s Initial Trading in IEA Securities

           Date     Transaction       Shares       Amount     Average Price        Value
         6/9/2022    Purchase         Shares        12,500       $9.13         $   114,071.92
        6/10/2022    Purchase         Shares         7,500       $8.91         $    66,847.25
        6/10/2022    Purchase         Shares          500        $8.89         $     4,445.00
        6/14/2022    Purchase         Shares         2,000       $8.28         $    16,560.00
        6/15/2022    Purchase         Shares         2,500       $9.04         $    22,603.75
        6/17/2022    Purchase         Shares          500        $8.82         $     4,407.60
        6/22/2022    Purchase         Shares         5,000       $9.18         $    45,896.50
        6/22/2022    Purchase         Shares         1,500       $9.20         $    13,800.00
        6/24/2022    Purchase         Shares         5,000       $9.27         $    46,374.00
        6/24/2022      Sale           Shares         2000        $9.47         $    18,939.56
        6/27/2022      Sale           Shares         1000        $9.57         $     9,573.63
        6/29/2022    Purchase         Shares          300        $8.79         $     2,638.28
         7/6/2022    Purchase         Shares          200        $7.99         $     1,598.00




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           53.    On July 7, 2022—the same day Nannini text messaged Thermiotis that MasTec’s

  acquisition of IEA had only a 40 percent chance of moving forward (Figure 3 above)—Mauro

  Nannini sold all of his 34,500 shares of IEA for a loss of approximately $35,000 (Figure 7 below).

           Figure 7 – Mauro Nannini Sells His Shares of IEA

           Date      Transaction        Shares        Amount      Average Price         Value
         7/7/2022       Sale            Shares         12,314        $8.04          $    98,972.47
         7/7/2022       Sale            Shares          2,686        $8.12          $    21,798.98
         7/7/2022       Sale            Shares         19,500        $7.93          $   154,730.54


           54.    On July 14, 2022, Nannini learned that prospects for the deal had changed. At 9:12

  a.m., Nannini’s supervisor emailed Nannini instructing him to finish working on Project Indigo.

  A few hours later, Nannini text messaged Thermiotis that the deal was “going thru [sic]” (Figure

  4 above). While text messaging with Thermiotis, Nannini confirmed that Mauro Nannini exited

  his entire position: “My dads out down 40 gs,” indicating that Mauro Nannini sold all of his shares

  of IEA for a $40,000 loss, to which Thermiotis responded he was down $100,000.

           55.    On July 15, 2022, the day after Nannini learned the deal was going through—and

  just one week after selling his entire position in IEA—Mauro Nannini purchased 36,000 shares of

  IEA for approximately $312,373.

           56.    Mauro Nannini continued buying IEA securities leading up to the Announcement

  (Figure 8 below). Specifically, on July 18, 2022, Mauro Nannini purchased 85 call options 2 in


  2
    A “call” option gives the purchaser-holder of the option the right, but not the obligation, to buy
  100 shares of a security at a fixed price within a specific period of time. The end of the time
  period is the expiration date. The fixed price set in the call option contract is called the strike
  price. A call option is “out-of-the-money” if the underlying price is trading below the strike
  price of the call. Therefore, the purchaser of an out-of-the-money call option is betting that the
  underlying price of the stock will increase. Generally, the buyer of a call option anticipates that
  the price of the underlying security will increase during that period. Purchasing out-of-the money
  call options is a risk given that the call options could expire worthless, i.e., if the share price does
  not hit the desired strike price, it would expire worthless. Here, Mauro Nannini purchased 85
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  IEA for approximately $5,383, which represented approximately 34 percent of the series volume

  for that day, with an expiration the following month. On July 21, 2022, he purchased an additional

  500 shares of IEA for approximately $4,954.

          57.    On July 22, 2022, Mauro Nannini sold 2,000 shares of IEA, receiving

  approximately $20,644, but continued to hold 34,500 shares and 85 call options until the

  Announcement.

          Figure 8 – Mauro Nannini’s Trading in IEA Securities Leading up to the
          Announcement

          Date      Transaction Shares/Options Amount          Average Price        Value
        7/15/2022    Purchase       Shares      15,000             $8.65        $   129,724.00
        7/15/2022    Purchase       Shares       2,000             $8.75        $    17,501.00
        7/15/2022    Purchase       Shares      19,000             $8.69        $   165,148.29
        7/18/2022    Purchase     Call Option      25              $0.63        $     1,566.98
        7/18/2022    Purchase     Call Option      25              $0.66        $     1,641.98
        7/18/2022    Purchase     Call Option       5              $0.56        $       278.40
        7/18/2022    Purchase     Call Option      30              $0.63        $     1,896.00
        7/21/2022    Purchase       Shares        500              $9.91        $     4,954.65
        7/22/2022      Sale         Shares       2,000            $10.33        $    20,664.89

         58.     On July 25, 2022, the day of the Announcement, Mauro Nannini sold all 34,500

  shares and 85 call options of IEA realizing an illegal profit of $177,048 (Figure 9 below).

         Figure 9 – Mauro Nannini Sells All IEA Securities on Day of Announcement

          Date      Transaction Shares/Options Amount          Average Price        Value
        7/25/2022      Sale         Shares      17,000            $13.18        $   224,038.86
        7/25/2022      Sale         Shares      17,500            $13.17        $   230,419.97
        7/25/2022      Sale       Call Option     49               $3.29        $    16,136.34
        7/25/2022      Sale       Call Option      6               $3.29        $     1,975.88
        7/25/2022      Sale       Call Option     30               $3.27        $     9,803.77




  out-of-the-money (the right, but not the obligation, to purchase 8,500 IEA shares) call options on
  July 18, 2022 with a strike price of $10.00 and an expiration date of August 19, 2022.

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         59.     At the time Mauro Nannini traded in the securities of IEA, he knew, consciously

  avoided knowing, or was reckless in not knowing that that he was in possession of MNPI.

         60.     Mauro Nannini also knew, consciously avoided knowing, or was reckless in not

  knowing that the MNPI was divulged to him by Nannini in breach of a duty of trust and confidence

  for personal benefit.

         61.     Mauro Nannini used the MNPI with an intent to deceive or defraud by trading in

  IEA securities on the basis of MNPI in advance of the Announcement.

                                     (iii) Thermiotis Tips Tonarely

         62.     In addition to purchasing IEA stock on the basis of MNPI, Thermiotis tipped

  Tonarely, who purchased shares of IEA.

         63.     Tonarely also went to high school with Nannini and Thermiotis. Thermiotis and

  Tonarely are very close friends and exchange daily text messages about day-trading, friends, and

  social gatherings.

         64.     Thermiotis received a personal benefit from his tip of MNPI to Tonarely, including

  the benefit of providing a gift of inside information to a close friend.

         65.     On June 16, 2022, the day after Nannini first disclosed MNPI to Thermiotis,

  Tonarely text messaged Thermiotis, “I want to make some money right now. What we do[?]”

  (Figure 10 below). A little more than an hour later, Thermiotis called Tonarely for almost two

  minutes. At 3:35 p.m., Nannini called Thermiotis for approximately 35 minutes. While Thermiotis

  was on the phone with Nannini, Thermiotis text messaged Tonarely, “Don’t text me about it.” At

  4:11 p.m., Tonarely called Thermiotis for approximately three minutes. Just a few minutes later,

  from 4:14 to 4:18 p.m., Tonarely purchased 321 shares of IEA, which comprised 100 percent of

  Tonarely’s stock holdings in his brokerage account.



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         66.     Later that day, at 5:20 p.m., Thermiotis called Tonarely for three minutes. At 5:23

  p.m., Thermiotis texted Tonarely, “Not a soul okay,” to which Tonarely responded: “Obviously.

  You told me not to.”

         Figure 10 – June 16, 2022 Text Messages between Thermiotis and Tonarely

                                       June 16, 2022 (Thursday)
                     2:23 p.m.        Francisco Tonarely:

                                       I want to make some money right now.
                                       What we do

                     3:35 p.m.                                         Alejandro Thermiotis:
                                                                       Don’t text me about it.

                                      Francisco Tonarely:
                                      Call me, Call me now

                     5:23 p.m.                                             Alejandro Thermiotis:
                                                                           Not a soul okay
                                      Francisco Tonarely:
                                      Obviously. You told me not to.


         67.     The following week, on June 22, 2022, Tonarely texted Thermiotis and asked if

  they should sell. At that time, IEA’s stock price was averaging approximately $9.20. Thermiotis

  responded “Idk bro. Probably not wait to hear morw [sic].” Earlier that day, Nannini had indicated

  to Thermiotis that he was uncertain whether the deal was going through (Figure 2 above).

         68.     On June 29, 2022, Tonarely text messaged Thermiotis and again raised concerns

  about his investment in IEA, stating he was bleeding money and asking if they should sell.

         69.     On July 25, 2022, before the market open on the day of the Announcement,

  Tonarely text messaged Thermiotis, “Why not sell now?” to which Thermiotis told him to do

  whatever he wanted.

         70.     On the day of the Announcement, Tonarely sold all of his shares of IEA realizing

  an illegal profit of $1,509.



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          71.     At the time Tonarely traded in the securities of IEA, he knew, consciously avoided

  knowing, or was reckless in not knowing that that he was in possession of MNPI.

          72.     Tonarely also knew, consciously avoided knowing, or was reckless in not knowing

  that the MNPI was divulged to him by Thermiotis in breach of a duty of trust and confidence for

  personal benefit.

          73.     Tonarely used the MNPI with an intent to deceive or defraud by trading in IEA

  securities on the basis of MNPI in advance of the Announcement.

          D.      Post-Trade Conduct

          74.     On July 27, 2022, two days after the Announcement, Nannini and Thermiotis

  revisited purchasing a Rolex in text messages, with Nannini sending a link to a Rolex watch for

  sale and asking Thermiotis: “You wanna hook it up for the boy. I know its [sic] a little over budget

  but this is the one.”

          75.     On October 13, 2022, Nannini text messaged Thermiotis he was “dead broke.”

  Thermiotis suggested that he owed Nannini money and responded “[y]ou should take the 25 i owe

  you cash ngl [not gonna lie]” (presumably referring to $25,000) “[f]or buying opportunities.”

  Nannini said he would rather “pop a daytona,” referencing the Rolex watch model discussed in

  previous communications. Thermiotis later told Nannini that they should go to a store to purchase

  a pre-owned Rolex because Thermiotis was not going to purchase one online.

          76.     Nannini also took steps to conceal his fraud from the Consulting Firm by denying

  he knew Thermiotis during an inquiry by the Financial Industry Regulatory Authority (“FINRA”).

          77.     After the Announcement, FINRA contacted MasTec regarding its investigation of

  potential insider trading of IEA shares. On December 21, 2022, in connection with FINRA’s




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  investigation, MasTec sent the Consulting Firm a list of individuals and entities that traded in IEA

  securities before the Announcement.

          78.      The Consulting Firm’s counsel shared the list with Nannini, among others, to

  identify individuals Nannini may have known, and to provide a detailed description of any past or

  present relationships, including a synopsis of any contact which occurred during the period prior

  to the Announcement. The list included Mauro Nannini, along with Thermiotis and members of

  Thermiotis’s family. In response, on December 28, 2022, Nannini stated “I do not know any other

  individuals and/or entities on the list other than my parents,” concealing his relationship and

  communications with Thermiotis and knowledge about members of the Thermiotis family.

          79.      On January 5, 2023, in response to an earlier request by the Consulting Firm for

  Nannini to turnover his personal cell phone in connection with the investigation, Nannini instead

  submitted his letter of resignation. Nannini also declined to be interviewed as part of the

  investigation.

                                       VI. CLAIM FOR RELIEF

                                               COUNT I

                Violations of Exchange Act Section 10(b) and Rule 10b-5 Thereunder
                                     (Against All Defendants)

          80.      The Commission repeats and realleges Paragraphs 1 through 79 of this Complaint

  as if fully set forth herein.

          81.      By engaging in the acts and conduct alleged herein, Defendants, directly or

  indirectly, in connection with the purchase or sale of securities, by the use of the means or

  instrumentalities of interstate commerce, or of the mails, or a facility of a national securities

  exchange, has knowingly or recklessly:

                a. employed devices, schemes, or artifices to defraud; and/or

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               b. made an untrue statement of material fact or omitted to state a material fact

                  necessary in order to make the statements made, in the light of the circumstances

                  under which they were made, not misleading; and/or

               c. engaged in acts, practices, or courses of business which operated or would operate

                  as a fraud or deceit upon any persons.

         82.      By reason of the foregoing, Defendants violated, and unless enjoined, are

  reasonably likely to continue to violate, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)],

  and Exchange Act Rule 10b-5 [17 C.F.R. § 240.10b-5].

                                     VII. RELIEF REQUESTED

        WHEREFORE, the Commission respectfully requests the Court:

                                        A. Permanent Injunction

         Issue Permanent Injunctions, enjoining the Defendants, their agents, servants, employees,

  attorneys, and representatives, and all persons in active concert or participation with them, and

  each of them, from violating Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Exchange

  Act Rule 10b-5 [17 C.F.R. § 240.10b-5].

                               B. Disgorgement and Prejudgment Interest

         Issue an Order directing Mauro Nannini, Thermiotis, and Tonarely to disgorge all ill-gotten

  gains, including prejudgment interest, received as a result of the acts and/or courses of conduct

  alleged in this Complaint.

                                      C. Civil Monetary Penalties

         Issue an Order directing the Defendants to pay civil money penalties pursuant to Section

  21A of the Exchange Act [15 U.S.C. § 78u-1].




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                                              D. Further Relief

             Grant such other and further relief as may be necessary and appropriate.

                                        E. Retention of Jurisdiction

             The Commission respectfully requests the Court retain jurisdiction over this action and

  over Defendants in order to implement and carry out the terms of all orders and decrees that may

  hereby be entered, or to entertain any suitable application or motion by the Commission for

  additional relief within the jurisdiction of this Court.

                                 VIII. DEMAND FOR JURY TRIAL

             The Commission hereby demands a trial by jury on any and all issues in this action so

  triable.

             Dated: September 13, 2024            Respectfully submitted,



                                                  By: Russell R. O’Brien
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